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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:05CR3025
                                     )
           v.                        )
                                     )
DANIEL L. MOORE,                     )                   ORDER
                                     )
                Defendants.          )
                                     )


     IT IS ORDERED:

     1.   Defendant’s motion to continue, filing 144, is granted
and the change of plea hearing is continued from March 3, 2006 at
2:00 p.m. to April 12, 2006 at 2:00 p.m. before the undersigned
magistrate judge in Courtroom 2, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

     2.   For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     3.    Defendant shall appear at the hearing.


     DATED this 17th day of February, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
